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EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 1:12-cv-21932-KMM/TORRES

GHM (SOUTH BEACH) LLC, a Delaware
limited liability company,

Plaintiff,
Vv.

SETAI OWNERS LLC, a Delaware limited
liability company, TREVI LUXURY
HOSPITALITY GROUP, INC., a Texas
corporation, and SMB MANAGEMENT
LLC, a Florida limited liability company,

Defendants.
/

ORDER GRANTING DEFENDANT SETAI OWNERS LLC’S
UNOPPOSED MOTION FOR 2-DAY ENLARGEMENT OF TIME
TO RESPOND TO PLAINTIFF’S MOTION TO ENJOIN ARBITRATION

THIS CAUSE is before the Court on Setai Owners LLC’s Unopposed Motion for 2-Day
Enlargement of Time to Respond to Plaintiff's Motion to Permanently Enjoin or, in the
Alternative, for a Preliminary Injunction Enjoining Defendant Setai Owners LLC from
Proceeding with the Arbitration Filed Before the International Court of Arbitration of the
International Chamber of Commerce (‘Plaintiff's Motion to Enjoin Arbitration”) (D.E. 1 at Ex.
2). The Court having considered Setai Owners LLC’s Motion and being otherwise fully advised
in the premises, it is

ORDERED AND ADJUDGED as follows:

Le Setai Owners LLC’s Motion is hereby GRANTED.
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2. Setai Owners LLC shall have until and including June 8, 2012, to respond to
Plaintiff's Motion to Enjoin Arbitration.
DONE AND ORDERED in chambers in Miami-Dade County, Florida, this day of

June, 2012.

HONORABLE K. MICHAEL MOORE
UNITED STATES DISTRICT COURT JUDGE

Copies furnished to all counsel of record
on the attached Service List
Case 1:12-cv-21932-KMM Document 14-1 Entered on FLSD Docket 06/01/2012

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SERVICE LIST

GHM (South Beach LLC) v. Setai Owners LLC, et al.
CASE NO. 1:12-cv-21932-KMM/TORRES
United States District Court, Southern District of Florida

Kenneth R. Hartmann, Esq. (Florida Bar No. 664286)
krh@kttlaw.com

Daniel F. Benavides, Esq. (Florida Bar No. 81675)
dfb@kttlaw.com

Douglas A. Wolfe, Esq. (Florida Bar No. 28671)
daw@kttlaw.com

KOZYAK TROPIN & THROCKMORTON, P.A.
2525 Ponce de Leon, 9th Floor

Coral Gables, Florida 33134

Telephone: (305) 372-1800

Facsimile: (305) 372-3508

Counsel for Plaintiff

[VIA CM/ECF]

Richard H. Critchlow, Esq. (Florida Bar No. 155227)
rcritchlow@knpa.com

Elizabeth B. Honkonen, Esq. (Florida Bar No. 149403)
ehonkonen@knpa.com

KENNY NACHWALTER, P.A.

201 South Biscayne Boulevard

Suite 1100

Miami, Florida 33131-4327

Telephone: (305) 373-1000

Facsimile: (305) 372-1861

Counsel for Defendants Setai Owners LLC and
SMB Management LLC

[VIA CM/ECF]

William A. Brewer, III
wab@bickelbrewer.com
James S. Renard
jsr@bickelbrewer.com

Jack G. Ternan
jgt(@bickelbrewer.com

Bickel & Brewer

4800 Comerica Bank Tower

1717 Main Street

Dallas, Texas 75201

Telephone: (214) 653-4000

Facsimile: (214) 653-1015

Counsel for Defendants Setai Owners LLC and
SMB Management LLC

[VIA CM/ECF]
